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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                          DUBLIN DIVISION


ANGELIA TREECE REESER,           *
                                 *
     Plaintiff,                  *
                                 *
     v.                          *           CV 320-072
                                 *
KILOLO KIJAKAZI, Acting
                1                *
Commissioner of Social Security, *
                                 *
     Defendant.                  *



                               O R D E R


     Plaintiff Angelia Treece Reeser brought this action under 42

U.S.C. § 405(g) seeking judicial review of a final decision of the

Defendant Commissioner of Social Security.       The final decision was

partially favorable to Plaintiff in that it was determined that

she became disabled on August 1, 2019.          Plaintiff had claimed

disability benefits from an alleged onset date of June 25, 2016.

     After Plaintiff filed her brief, the Commissioner moved for

entry of judgment under sentence four § 405(g) with reversal and

remand to the Commissioner.      Plaintiff objects to the requested

remand only to the extent that the Commissioner may vacate the




1 The Court takes judicial notice that Kilolo Kijakazi is now the
Acting Commissioner of the Social Security Administration.    The
Clerk is DIRECTED to substitute Ms. Kijakazi as the proper party
defendant in the case.
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partially favorable decision that she became disabled on August 1,

2019.

        Upon due consideration of the parties’ briefs, and noting

that the Government has not requested vacation of the partially

favorable decision, IT IS HEREBY ORDERED that the Commissioner’s

decision is REVERSED with a remand of the case to the Commissioner

for further proceedings.      On remand, the Commissioner will offer

Plaintiff the opportunity for another hearing and issue a new

decision.    The Court suggests to the Commissioner that Plaintiff’s

ongoing Title XVI disability benefits continue at least until such

time as the Commissioner has issued a new decision regarding her

entitlement to disability benefits from the alleged disability

onset date of June 25, 2016 through present

        The Clerk of the Court will enter a separate judgment pursuant

to Rule 58 of the Federal Rules of Civil Procedure.

        ORDER ENTERED at Augusta, Georgia this 27th day of October,

2021.




                                       ____________________________
                                       UNITED STATES DISTRICT JUDGE




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